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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                        For rules and forms visit
Clerk of Court                                                                        www.ca11.uscourts.gov


                                         November 29, 2024

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 24-13895-J
Case Style: United Faculty of Saint Leo, et al v. National Labor Relations Board, et al
Agency Docket Number: 12-CA-275612

Petition for Review/Application for Enforcement
Pursuant FRAP 15(c), you are hereby served with the following document that has been filed in
this court:

Petition for Review

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Record
Pursuant to FRAP 17(a), an agency must file the record within 40 days after being served with
the petition for review. See FRAP 16 and 17. Pursuant to FRAP 17(b)(1), the agency must file
(1) the original or a certified copy of the entire record or parts designated by the parties; or (2) a
certified list adequately describing all documents, transcripts of testimony, exhibits, and other
material constituting the record, or describing those parts designated by the parties.

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:

      •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
      •    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
           this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
      •    Only parties represented by counsel must complete the web-based CIP. Counsel must
           complete the web-based CIP, through the Web-Based CIP link on the Court's website,
           on the same day the CIP is first filed.
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The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

Mediation
If a Civil Appeal Statement is required to be filed and the appeal is fully counseled on all sides,
your appeal will be reviewed and considered for mediation. Mediation services are at no cost to
the parties. If no Civil Appeal Statement is required or you or any party to the appeal is self-
represented or pro se then the appeal is not eligible for mediation. See 11th Cir. R. 33-1.

Attorney Admissions
Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
appearance form within fourteen (14) days after this letter's date. The Application for
Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
The clerk generally may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6(b).

Obligation to Notify Court of Change of Addresses
Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
the party’s or attorney’s addresses during the pendency of the case. See 11th Cir. R. 25-7.

Clerk's Office Phone Numbers
General Information: 404-335-6100           Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135           Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125              Cases Set for Oral Argument: 404-335-6141




Enclosure(s)

                                                                                   DKT-8 Agency
